Case 2:04-cr-20140-.]PI\/| Document 227 Filed 08/12/05 Page 1 of 2 F%D 303

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IN THE UNITED sTATEs DISTRICT CoUR
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UNITED STATES OF AMERICA,

Plainciff,
v. NO.: 04-20140-04 MI
KENNETH KENARD BROWN,

Defendant.

 

ORDER ON MOTION TO WITHDRAW

 

IT APPEARING TO THE COURT, for good cause shown, that Eugene A. Laurenzi,
Attorney at Law shall be allowed to withdraw as counsel for the Defendant in the above

referenced cause.

ALL OF WHICH IS ORDERED, ADJUDGED AND DECREED this g day of

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DATE L_j

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UNITED `sATEs DISTRIC COURT - wETERN D's'TRCT OFTENNESSEE

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Honorable .1 on McCalla
US DISTRICT COURT

